567 F.2d 1212
    Patrick Vincent REO, Petitioner-Appellant,v.Maurice H. SIGLER, Chairman, United States Parole Board, andGeorge C. Wilkinson, Warden, Federal CorrectionalInstitution, Danbury, Connecticut,Respondents-Appellees.
    No. 127, Docket 76-2118.
    United States Court of Appeals,Second Circuit.
    Argued Sept. 16, 1977.Decided Jan. 12, 1978.
    
      F. Timothy McNamara, Hartford, Conn., for petitioner-appellant.
      Raymond L. Sweigart, Asst. U. S. Atty., District of Connecticut, New Haven, Conn.  (Richard Blumenthal, U. S. Atty., District of Connecticut, and Peter J. Ponziani, Law Student Intern, New Haven, Conn., of counsel), for respondents-appellees.
      Before GURFEIN and VAN GRAAFEILAND, Circuit Judges, and COFFRIN, District Judge.*
      PER CURIAM:
    
    
      1
      We have had difficulty in reaching a consensus on the following issue: whether the failure to notify a federal prisoner of the reasons why the Regional Director seeks to annul a favorable parole decision of a local panel is a denial of due process when the central assumption would involve a disputed question of fact on which the prisoner could not be heard until after the review by the National Directors is made and its decision rendered.
    
    
      2
      In the meantime, the local panel has again held that the appellant should be released, and this time there has been no appeal from its recommendation.  Since the matter has become moot, we dismiss the appeal.  See Weinstein v. Bradford, 423 U.S. 147, 96 S.Ct. 347, 46 L.Ed.2d 350 (1975) (per curiam ); Holup v. Gates, 544 F.2d 82, 84 (2d Cir. 1976).
    
    
      
        *
         Honorable Albert W. Coffrin, United States District Judge for the District of Vermont, sitting by designation
      
    
    